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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


ROBERT HOLLAND,                                MOTION TO VACATE
Fed. Reg. No. 71813019,                        28 u.s.c. § 2255

        Movant,                               CRIMINAL ACTION FILE
                                              NO. 1:18-CR-307-MHC-JSA
v.
                                              CIVIL ACTION FILE
UNITED STATES,                                NO. 1:21-CV-764-MHC-WEJ

       Respondent.

                                      ORDER

      Movant Robert Holland has filed a Motion to Vacate, Set Aside, or Correct

an allegedly illegal sentence in accordance with 28 U.S.C. § 2255

("Motion to Vacate") [Doc. 119] . This matter is before the Court on the Final

Report and Recommendation of the Magistrate Judge [Doc. 130] ("R&R")

recommending that the Motion to Vacate be denied with prejudice and that a

certificate of appealability not be issued. The Order for Service of the R&R [Doc.

120] provided notice that, in accordance with 28 U.S.C. § 636(b)(l), the parties

were authorized to file objections within fourteen (14) days of the receipt of that

Order. No objections to the R&R have been filed within the permitted time period.
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      Absent objection, the district court judge "may accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge,"


28 U.S.C. § 636(b)(l). Based upon the absence of objections to the R&R, in

accordance with 28 U.S.C. § 636(b)(l), the Court has reviewed the R&R for plain

error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir. 1983). The Court

finds no plain error and that the R&R is supported by law.

      The Court APPROVES AND ADOPTS the Final Report and

Recommendation [Doc. 130] as the Opinion and Order of the Court. It is hereby

ORDERED that Movant's Motion to Vacate [Doc. 119] is DENIED WITH

PREJUDICE.

      It is further ORDERED that a certificate of appealability is DENIED

because Movant has not met the requisite standard. Movant may not appeal the


denial of his motion but may seek a certificate from the United States Court of

Appeals for the Eleventh Circuit under Federal Rule of Appellate Procedure 22.

Rule 1 l(a), Rules Governing § 2255 Proceedings for the United States District

Courts.
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  The Clerk is DIRECTED to close the civil case file.

 IT IS SO ORDERED this 2nd day of December, 2021




                                 MARK H. COHEN
                                 United States District Judge
